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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


 IN RE APPLICATION OF
 HORNBEAM CORPORATION
                                                             No. 14-24887-MC-SEITZ/TURNOFF
 REQUEST FOR DISCOVERY PURSUANT TO
 28 U.S.C. § 1782


                                      NOTICE OF FILING

        PLEASE TAKE NOTICE that on July 5, 2017, the undersigned served copies of

 Intervenors Panikos Symeou and Halliwel Assets, Inc.’s Motion for Leave to File Under

 Seal Confidential Statement of Claim, with the Sealed Document, in the above-captioned

 matter, to be served via Certified U.S. Mail Certified on those parties in the attached Certificate

 of Service, a copy of which is attached hereto.

        Dated: July 5, 2017                   Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 5, 2017, I filed a true and correct copy of the above
 and foregoing document with the Clerk of Court by using the CM/ECF e-filing system, which
 will send a notice of electronic filing to all counsel of record via electronic mail.

                                              /s/ Sujey S. Herrera
                                              Sujey S. Herrera
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                            CERTIFICATE OF SERVICE


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